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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                   NO: 2:14-CR-0168-TOR-7
 8                             Plaintiff,              2:14-CR-0168-TOR-22
                                                       2:14-CR-0168-TOR-28
 9         v.
                                                   PROTECTIVE ORDER
10   VERONICA M. MARRY (7),
     DAVID D. SPRAGG (22),
11   HEIDI S. ELLIOTT (28),

12                             Defendants.

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           BEFORE THE COURT are the United States’ Motion for Protective Order
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     (ECF No. 525) and Motion to Expedite (ECF No. 526). The matters were
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     submitted for consideration without oral argument. The Court has reviewed the
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     motions and the file herein and is fully informed. The government moves the Court
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     for a protective order regulating disclosure of the discovery materials and the
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     sensitive information contained therein (the “Discovery”) to defense counsel in
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     connection with its discovery obligations. For good cause shown, the motions are
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     granted.


     PROTECTIVE ORDER ~ 1
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 1         ACCORDINGLY, IT IS HEREBY ORDERED:

 2         1.     The United States’ Motion for Protective Order (ECF No. 525) and

 3   Motion to Expedite (ECF No. 526) are GRANTED.

 4         2.     The United States is authorized to disclose the discovery and sensitive

 5   information materials (hereinafter “Discovery”) in its possession pursuant to the

 6   discovery obligations imposed by this Court.

 7         3.     Government personnel and counsel for Defendant shall not provide, or

 8   make available, the Discovery to any person except as specified in this Order or by

 9   approval from this Court. Therefore, defense counsel and the Government shall

10   restrict access to the Discovery, and shall only disclose the Discovery to their

11   client, office staff, investigators, independent paralegals, necessary third-party

12   vendors, consultants, and/or anticipated fact or expert witnesses to the extent that

13   defense counsel believes is necessary to assist in the defense of their client in this

14   matter or that the government believes is necessary in the investigation and

15   prosecution of this matter.

16         4.     Third parties contracted by the United States or defense counsel to

17   provide expert analysis or testimony may possess and inspect the Discovery, but

18   only as necessary to perform their case-related duties or responsibilities in this

19   matter. At all times, third parties shall be subject to the terms of this Order.

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 1         5.     Discovery in this matter will be made available to defense counsel on

 2   compact discs (“CDs”) and/or digital video discs (“DVDs”). Defense counsel shall

 3   retain these discovery CDs/DVDs. If necessary to provide discovery to their

 4   respective clients, defense counsel may duplicate the CDs/DVDs only once. In

 5   order to provide discovery to a necessary third-party vendor, consultant, and/or

 6   anticipated fact or expert witness, defense counsel may duplicate the CDs/DVDs

 7   only once. No other copies of the CDs/DVDs shall be made, by defense counsel or

 8   Defendants, without prior approval from this Court.

 9         6.     To the extent that defense counsel makes any portion of the Discovery

10   available in paper format to anyone, including their client, outside of counsel’s

11   office, defense counsel shall ensure that any and all sensitive information is

12   redacted or removed. Such redaction/removal shall include, but shall not be

13   limited to, the following: (a) all Social Security, identification card, driver’s

14   license, birth certificate, and taxpayer identification numbers; (b) all business and

15   employer names, locations, addresses, as well as salary information; (c) residential

16   and business addresses; (d) all dates of birth, organ donor information, telephone

17   numbers, and email addresses; (e) all lease, bill, or other payment amounts; and (f)

18   all information identifying the contents and routing and account number(s) of any

19   financial account, including bank, trust, and retirement account(s).

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 1         7.     All counsel of record in this matter, including counsel for the United

 2   States, shall ensure that any party, including Defendant, that obtains access to the

 3   Discovery is provided a copy of this Order. No other party that obtains access to

 4   or possession of the Discovery shall retain such access or possession unless

 5   authorized by this Order, nor further disseminate the Discovery except as

 6   authorized by this Order. Any other party that obtains access to, or possession of,

 7   the Discovery once the other party no longer requires access to or possession of the

 8   Discovery shall promptly destroy or return the Discovery once access to Discovery

 9   is no longer necessary. For purposes of this Order, “other party” is any person

10   other than counsel for the United States, counsel for Defendant, or Defendant.

11         8.     All counsel of record, including counsel for the United States, shall

12   keep a list to identify each person to whom the Discovery is disclosed and who was

13   advised of the requirements of this Order. Neither counsel for Defendant, nor the

14   counsel for the United States, shall be required to disclose this list of persons

15   unless so ordered to do so by the Court.

16         9.     Upon entry of a final order of the Court in this matter and conclusion

17   of any direct appeals, government personnel and counsel for Defendant shall

18   retrieve and destroy all copies of the Discovery, except that counsel and

19   government personnel may maintain copies in their closed files following their

20   customary procedures.



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 1         10.    Government personnel and counsel for Defendant shall promptly

 2   report to the Court any known violations of this Order.

 3         The District Court Executive is hereby directed to enter this Order and

 4   furnish copies to counsel.

 5         DATED February 5, 2015.

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 7                                   THOMAS O. RICE
                                  United States District Judge
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     PROTECTIVE ORDER ~ 5
